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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       CRIM NO. 1:18-cr-00020-DLF
                                              )
MIHAI ALEXANDRU ISVANCA,                      )
                                              )
       Defendant.                             )
                                              )

                                              ORDER


       Upon consideration of the Government’s Motion to File a Redacted Agreed Statement of

Facts in Support of Guilty Plea, and Fed. R. Crim. P. 49.1, and the entire record herein, it is this

______day of April, 2021,

       ORDERED, that the clerk of the court shall file the redacted Agreed Statement of Facts

in Support of Guilty Plea in the public record, and file under seal, the unredacted version of the

Agreed Statement of Facts in Support of Guilty Plea.



                                                      _____________________________
                                                      United States District Judge
